













NUMBER 13-06-00139-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 





	

MARIA TORRES, 	APPELLANT,


v.



ARTHUR UDELL STRICKLAND,	APPELLEE.

	




On Appeal from the County Court at Law No. 4 


of Hidalgo County, Texas.






MEMORANDUM OPINION


	

Before Justices Yañez, Garza, and Vela
Memorandum Opinion Per Curiam


	Appellant, Maria Torres, appealed a final judgment entered on December 9, 2005. 
On November 20, 2007, this Court abated the appeal because of the court reporter's
failure to file the record with the Court on or before January 19, 2007.  Following the
abatement, the trial court issued findings of fact indicating that the reporter's record was
timely requested by the appellant; that the record was lost or destroyed, cannot be
replaced, and is necessary to the appeal in this case; and that the appellant was not at
fault for such loss.  See Tex. R. App. P. 34.6 (f).  

	Accordingly, on September 10, 2008, the Clerk of this Court notified appellant that
based on a review of the findings of fact issued by the trial court, the appeal would be
dismissed, unless a motion was filed within ten days from the date of receipt of the notice.
See Tex. R. App. P. 42.3(a),(c).  On September 16, 2008, appellant's counsel contacted
the Clerk of the Court indicating that a motion for new trial had been filed in the trial court. 
An order for new trial was granted by the trial court on October 1, 2008.

	Accordingly, the appeal is hereby DISMISSED FOR WANT OF JURISDICTION. 
See Tex. R. App. P. 42.3(a).


							PER CURIAM

Memorandum Opinion delivered 

and filed this the 30th day of October, 2008. 





	


